                  Case to
 Fill in this information 15-35165       Document
                           identify the case:                    111 Filed in TXSB on 04/04/19 Page 1 of 5
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1              __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: __________ District of __________

 Case number            ___________________________________________




           410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



 Name of creditor: _______________________________________                                 Court claim no. (if known): __________________
                      Bungalow Series F Trust
 Last 4 digits of any number you use to
 identify the debtor’s account:               ____ ____ ____ ____

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
        No
        Yes. Date of the last notice: _____________


 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.

      Description                                                        Dates incurred                                     Amount

  1. Late charges                                                        _________________________________            (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                     _________________________________            (2)   $ __________
  3. Attorney fees                                                       _________________________________            (3)   $ __________
  4. Filing fees and court costs                                         _________________________________            (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                      _________________________________            (5)   $ __________
  6. Appraisal/Broker’s price opinion fees                               _________________________________            (6)   $ __________
  7. Property inspection fees                                            _________________________________            (7)   $ __________
  8. Tax advances (non-escrow)                                           _________________________________            (8)   $ __________
  9. Insurance advances (non-escrow)                                     _________________________________            (9)   $ __________
 10. Property preservation expenses. Specify:_______________             _________________________________           (10)   $ __________
 11. Other. Specify:____________________________________                 _________________________________           (11)   $ __________
 12. Other. Specify:____________________________________                 _________________________________           (12)   $ __________
 13. Other. Specify:____________________________________                 _________________________________           (13)   $ __________
 14. Other. Specify:____________________________________                 _________________________________           (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                             Notice of Postpetition Mortgage Fees, Expenses, and Charges                          page 1
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Debtor 1     _______________________________________________________                      Case number   (if known) _____________________________________
             First Name       Middle Name              Last Name




 Part 2:    Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

      I am the creditor.
      I am the creditor’s authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



                 __________________________________________________                       Date    ___________________
                 Signature




 Print:          _________________________________________________________                Title   ___________________________
                 First Name                      Middle Name       Last Name



 Company         _________________________________________________________



 Address         _________________________________________________________
                 Number                 Street
                 ___________________________________________________
                 City                                              State       ZIP Code




 Contact phone   _______________________                                                  Email ________________________




Official Form 410S2                                Notice of Postpetition Mortgage Fees, Expenses, and Charges                                 page 2
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                              CERTIFICATE OF SERVICE
       I hereby certify that a copy of the foregoing Notice of Postpetition Mortgage Fees,
Expenses, and Charges was served on the 4th day of April, 2019.       Said Notice was filed
electronically. Service was accomplished by the method and to the following as indicated.


                                              By: /s/ Richard Anderson
                                                 RICHARD E. ANDERSON
                                                 State Bar No. 01209010
                                                 4920 Westport Drive
                                                 The Colony, Texas 75056
                                                 Email: randerson@AndersonVela.com

BY ELECTRONIC NOTICE OR REGULAR FIRST CLASS MAIL, POSTAGE PREPAID:

DEBTOR
Daid Bradley Vaughn
13103 Labelle Lane
Houston, TX 77015

DEBTOR
Misty Dawn Vaughn
13103 Labelle Lane
Houston, TX 77015

DEBTORS’ ATTORNEY
Azwar-Radi M. Rashid
Rashid Law Firm, P.C.
PO Box 61212,
Houston, TX77208

TRUSTEE
William E. Heitkamp
9821 Katy Freeway, Ste 590
Houston, TX 77024

U.S. TRUSTEE
US Tustee
515 Rusk Avenue, Ste 3516
Houston, TX 77002
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CREDITOR ATTORNEY
Andrew Goldberg
Rosicki, Rosicki & Associates, P.C.                   Federal National Mortgage
51 East Bethpage Road                                 Association
Plainview, NY 11803                                   c/o Rosicki, Rosicki & Associates
                                         representing
516-741-2585                                          51 E. Bethpage Road
516-873-7244 (fax)                                    Plainview, NY 11803
Bkmail@rosicki.com                                    (Creditor)
 Assigned: 02/09/2016
Cole D. Patton
McCarthy & Holthus, LLP
1255 West 15th Street
                                                      Seterus, Inc.
Suite 1060
                                                      PO Box 1047
Plano, TX 75075                          representing
                                                      Hartford, CT 06143
214-291-3800
                                                      (Creditor)
214-291-3801 (fax)
mhtbkanhsselffilings@mccarthyholthus.com
 Assigned: 08/26/2016
Azwar-Radi M. Rashid
Rashid Law Firm, P.C.
PO BOX 61212                                          David Bradley Vaughn
Houston, TX 77208                                     13103 Labelle Ln.
                                         representing
713-985-9240                                          Houston, TX 77015
832-900-4932 (fax)                                    (Debtor)
cmecfrashid@gmail.com
 Assigned: 10/02/2015
                                                      Misty Dawn Vaughn
                                                      13103 Labelle Ln.
                                                      Houston, TX 77015
                                                      (Joint Debtor)
Yoshie Valadez
McCarthy & Holthus, LLP
1255 West 15th Street
                                                      Seterus, Inc.
Suite 1060
                                                      PO Box 1047
Plano, TX 75075                          representing
                                                      Hartford, CT 06143
214-291-3800
                                                      (Creditor)
214-291-3801 (fax)
mhtbkanhsselffilings@mccarthyholthus.com
 Assigned: 09/11/2018



                                        /s/ Richard E. Anderson
                                        RICHARD E. ANDERSON
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Date Posted         Effective Date        Paid to Date           Transaction Description   Total Amount
        6/23/2017             6/23/2017            12/1/2015   Ins Enmasse                            ($13.37)
        9/29/2017             9/29/2017             2/1/2016   Ins Enmasse                           ($426.00)
       11/28/2017            11/28/2017             3/1/2016   Tax Enmasse                         ($2,516.82)
        12/6/2017             12/6/2017             3/1/2016   Tax Enmasse                         ($1,408.06)
       12/14/2017            12/14/2017             4/1/2016   Tax Enmasse                           ($402.49)
         6/4/2018              6/4/2018             4/1/2016   Ins Enmasse                           ($379.00)
       12/10/2018            12/10/2018             6/1/2016   Tax Enmasse                         ($1,405.32)
       12/19/2018            12/19/2018             6/1/2016   Tax Enmasse                           ($402.49)
        1/28/2019             1/28/2019             6/1/2016   Tax Manual                          ($2,532.92)
        1/31/2019             1/31/2019             6/1/2016   Tax Manual                          ($2,532.92)
